         Case 2:15-cv-02040-KOB Document 187 Filed 03/25/19 Page 1 of 1                                  FILED
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                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

WILLIE ABNER, et al.,                             )
                                                  )
       Plaintiffs,                                )
                                                  )
       v.                                         )       Case No. 2:15-CV-2040-KOB
                                                  )
UNITED STATES PIPE AND FOUNDRY                    )
COMPANY, et al.,                                  )       This Document Relates to All Cases
                                                  )
       Defendants.                                )


                                FINAL ORDER OF DISMISSAL

       Because no claims remain in this case after the court’s approval of the pro ami

settlement, the court DISMISSES this action WITH PREJUDICE. The court DIRECTS the Clerk

of Court to close this case. The court retains jurisdiction for the limited purpose of enforcing the

terms of the settlement agreement.

       DONE and ORDERED this 25th day of March, 2019.



                                              ____________________________________
                                              KARON OWEN BOWDRE
                                              CHIEF UNITED STATES DISTRICT JUDGE




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